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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-1(b)
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     Local Counsel for the Plan Administrator
                                                            Chapter 11
 In re:
                                                            Case No. 22-19361 (MBK)
 BLOCKFI INC., et al.,
                                                            (Jointly Administered under a Confirmed Plan2)
                      1
             Debtors.


      WIND-DOWN DEBTORS’ RESPONSE TO CLAIMANT JOHN W. VAN TUBERGEN
     JR.’S MEMORANDUM OF LAW IN SUPPORT OF MOTION PURSUANT TO FED. R.
      BANKR. P. 3008, 8002(b), 8007(a), 9023 AND 9024 TO (A) ALTER AND AMEND THE
     DECISION AND ORDER SUSTAINING THE WIND-DOWN DEBTORS’ OBJECTION
      TO CLAIM NO. 7233; AND (B) ALTERNATIVELY, SEEK OTHER RELIEF FROM
                                         SUCH ORDER


 1
        The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
        number, are: BlockFi Inc. (0015); BlockFi Trading LLC (2487); BlockFi Lending LLC (5017); BlockFi Wallet
        LLC (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A); BlockFi Investment Products LLC
        (2422); BlockFi Services, Inc. (5965) and BlockFi Lending II LLC (0154). The location of the Wind-Down
        Debtors’ service address is c/o M3 Partners, 1700 Broadway, 19th Floor, New York, NY 10019.
 2
        On October 3, 2023, the Court entered an order confirming the Third Amended Joint Chapter 11 Plan of BlockFi
        Inc. and its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code (Additional Technical
        Modifications) (the “Plan”) [Docket No. 1609].
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 TO: THE HONORABLE CHIEF JUDGE MICHAEL B. KAPLAN UNITED
 STATES BANKRUPTCY COURT FOR THE DISTRICT OF NEW JERSEY

         BlockFi Inc., BlockFi Lending, and its debtor affiliates (collectively, “BlockFi” or the

 “Wind-Down Debtors”), as managed by the Plan Administrator in the above-referenced Chapter

 11 cases (the “Chapter 11 Cases”), hereby submit this response (the “Response”) to Claimant John

 W. Van Tubergen Jr.’s Memorandum of Law in Support of Motion Pursuant to Fed. R. Bankr. P.

 3008, 8002(b), 8007(a), 9023 and 9024 to (A) Alter and Amend the Decision and Order Sustaining

 the Wind-Down Debtors’ Objection to Claim No. 7233; and (B) Alternatively, Seek Other Relief

 from Such Order (the “Motion”) [Docket No. 2142]. In support hereof, the Wind-Down Debtors

 respectfully state as follows:

                                      PRELIMINARY STATEMENT

         1.       The issues raised in the Motion are not new – they have each been briefed and

 argued in full. After careful consideration of the evidence presented, the Court issued its

 Memorandum Decision (the “Decision”) [Docket No. 2120] and Order Granting Wind-Down

 Debtors’ Seventh Omnibus Objection to Claim No. 7233 Filed by John W. Van Tubergen Jr. (the

 “Order”) [Docket No. 2122], modifying the Claim amount from $10 million to $19.07.3

         2.       Mr. Van Tubergen, dissatisfied with the Court’s conclusion, asks the Court to

 reconsider. However, the Motion does not ask the Court to reconsider based on any new evidence

 (none is presented), new legal theory (none is presented), or identification of clear error or mistake

 by the Court. Indeed, the thrust of the Motion is a challenge to the Court’s admission of certain

 evidence that Mr. Van Tubergen agreed would be admitted on the record in open court. The

 remainder simply regurgitates the record regarding the vagaries of LTV calculation and Michigan



 3
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Decision,
     Order, and accompanying briefing, as applicable.



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 law, and asks the Court to change its mind.

        3.      The Motion, therefore, falls far short of the requisite “cause… according to the

 equities of the case” necessary for this Court to reconsider disallowance of the Claim as required

 under 11 U.S.C. § 502(j), and must be denied. This Court’s careful consideration of the ample

 record before it, and the thoughtful Decision rendered thereon, was not a mistake.

        4.      In the alternative, the Motion asks the Court to issue a stay pending a hypothetical

 future appeal, and to require the Wind-Down Debtors to reserve more than $8 million for Mr.

 Van Tubergen’s hypothetical allowed claim. However, Mr. Van Tubergen fails to demonstrate

 (i) a likelihood that he will succeed on appeal, (ii) irreparable harm he will suffer absent a stay,

 (iii) lack of harm to BlockFi and its creditors, or (iv) that the public interest is served by the

 requested stay. Indeed, each of these factors weighs heavily against a stay of disallowance and

 the requested reserve. The Motion, therefore, fails to meet the burden to warrant a stay of this

 Court’s Order, and must be denied.

        5.      After more than 16 months, BlockFi’s innocent customers – largely individuals

 with retirement and other savings tied up in the defunct exchange – are set to receive their

 distributions. The Plan Administrator has a duty to reunite creditors with their much-needed

 assets as expeditiously as possible. The Motion fails all standards of cause, and inhibits the Plan

 Administrator’s efforts to distribute long-awaited estate assets to BlockFi’s customers. The

 Motion should be denied as to all requested relief.

                                          BACKGROUND

        6.      The Wind-Down Debtors incorporate by reference herein the background and

 procedural history as provided in the Court’s Decision.




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                                             RESPONSE

 I.     The Motion Fails To Meet The Legal Standards
        Required For Reconsideration Of A Disallowed Claim
        Pursuant To Section 502 Of The Bankruptcy Code.

        7.      Section 502(j) of the Bankruptcy Code provides the statutory basis to reconsider a

 previously allowed or disallowed claim, stating that “[a] claim that has been allowed or disallowed

 may be reconsidered for cause… according to the equities of the case.”           11 U.S.C. § 502(j)

 (emphasis added); Peshkopia v. Katz (In re Bankruptcy Kara Homes, Inc.), 2010 WL 2546018

 (D.N.J. June 21, 2010). Fed. R. Bankr. Pro. 3008 provides the procedure for reconsideration of a

 previously allowed or disallowed claim under section 502(j). Rule 3008 requires notice and

 hearing where a motion for reconsideration is granted, but permits the court to decline to reconsider

 an order of allowance or disallowance without notice and hearing. See 1983 Advisory Committee

 Note to Fed. R. Bankr. P. 3008.

        8.      The Bankruptcy Code does not elaborate upon cause according to the equities of

 the case, “but [cause] is an adaptable standard reflecting bankruptcy laws’ roots in equity

 jurisprudence.” See 1983 Advisory Committee Note to Fed. R. Bankr. P. 3008. “[C]ourts have

 substantial discretion in deciding what constitutes ‘cause’ when deciding whether to grant a motion

 for reconsideration under § 502(j).” In determining cause, courts “generally concur

 that Fed.R.Civ.P. 60(b) helps define ‘cause.’” In re Princeton Office Park, L.P., 504 B.R. 382,

 392 (Bankr. D.N.J. 2014) (citing Warren v. PNC Bank, Inc. (In re Warren), 499 B.R. 914, 919

 (Bankr. S.D. Ga. 2013) (citations omitted); In re Compass Marine Corp., 146 B.R. 138

 (Bankr.E.D.Pa.1992) (“[S]ome ‘cause’ for reconsideration, invoking at least one of the grounds

 set forth in F.R.Civ.P. 59 or 60(b), must be articulated if [Fed. R. Bankr.P.] 3008 to be successfully

 invoked.”)).




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         9.      Fed. R. Civ. Pro. 59, made applicable by Fed. R. Bankr. Pro. 9023, sets forth the

 procedural grounds for a new trial or to alter or amend a judgment. Courts in this district have

 required that “[S]uch a motion should be granted only where the moving party shows that at least

 one of the following grounds is present: (1) an intervening change in the controlling law; (2) the

 availability of new evidence that was not available when the court [made its initial decision]; or

 (3) the need to correct a clear error of law or fact or to prevent manifest injustice.” Courtney v.

 Williams, No. 15-33283, 2019 WL 328720, at *1 (Bankr. D.N.J. Jan. 23, 2019) (quoting In re

 Energy Future Holdings Corp., 904 F.3d 298, 311 (3d Cir. 2018) (internal quotations and citations

 omitted)).

         10.     Fed. R. Civ. Pro. 60(b), made applicable by Fed. R. Bankr. Pro. 9024, permits relief

 from a judgment or order on one of the following grounds: (1) mistake, inadvertence, surprise, or

 excusable neglect; (2) newly discovered evidence that, with reasonable diligence, could not have

 been discovered in time to move for a new trial under Rule 59(b); (3) fraud (whether previously

 called intrinsic or extrinsic), misrepresentation, or misconduct by an opposing party; (4) the

 judgment is void; (5) the judgment has been satisfied, released, or discharged; it is based on an

 earlier judgment that has been reversed or vacated; or applying it prospectively is no longer

 equitable; or (6) any other reason that justifies relief.

         11.     The Motion identifies two purported bases to find cause to reconsider the Court’s

 Order: (a) the Court’s finding in Part III(B) of the Decision that “BlockFi applied an acceptable

 LTV calculation method to the subject loans” was made in error, and (b) that the Court gave

 insignificant consideration to Michigan law. Both purported bases for reconsideration fail to meet

 the standards for relief under Fed. R. Civ. Pro. 59 and 60(b), and are instead little more than

 unsupported gripes with the Court’s well-reasoned prior Decision on these issues.




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        A.       The Court Did Not Err In Finding That
                 The LTV Calculation Utilized By BlockFi In
                 Calculating The Collateral Value Was Acceptable Under The LSA.

        12.      Mr. Van Tubergen re-asserts his belief that BlockFi employed, and this Court

 erroneously accepted, a valuation methodology that was “patently unreasonable and uncertain as

 a matter of fact.” Relatedly, Mr. Van Tubergen argues that Ms. Marquez’s testimony was

 inappropriate under Fed. R. Evid. 602, and the Court should not have credited it. Mr. Van

 Tubergen is incorrect as to both assertions.

               i.       BlockFi’s Valuation Methodology Was Not
                        Patently Unreasonable; Rather, It Was Clearly
                        Appropriate Given Its Discretion Under The LSA.

        13.      The Court (correctly) found that “[b]ased on the plain language of the LSAs, a

 determination as to the market value of Van Tubergen’s Collateral was left to BlockFi in its own

 reasonable discretion” and that the record did not establish that BlockFi was outside of such

 discretion. Mr. Van Tubergen’s dissatisfaction with the evidence that the Court credited is not a

 mistake, and therefore not grounds for reconsideration.

        14.      The term “mistake” as used in Rule 60(b)(1) refers to an excusable litigation

 mistake or a court’s substantive mistake in law or fact. In re Wassah, 417 B.R. 175, 183 (Bankr.

 E.D.N.Y. 2009) (citing iXL Ents. v. GE Capital Corp., No. Civ. A. 301CV2051CFD, 2005 WL

 736820 at *2 (D. Conn. Mar. 31, 2005)). The contractual agreement (the LSA) between BlockFi

 and Mr. Van Tubergen defines market value for purposes of calculating collateral as either the

 “product of the amount of the collateral times the last trade price for that type of collateral on the

 Gemini website or the market value determined by BlockFi in its reasonable discretion.” Mr. Van

 Tubergen argues, as he did previously, that the Court should adopt his purported LTV calculation

 methodology (i.e., based on Gemini pricing information), and that any alternative methodology

 should be deemed unacceptable. The Court disagreed with Mr. Van Tubergen, finding that the


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 agreement gave BlockFi discretion to use pricing data other than that sourced from Gemini. Mr.

 Van Tubergen takes issue with the Court’s (we submit, correct) conclusion. To the extent that Mr.

 Van Tubergen does not care for this Court’s finding, that dissatisfaction is not a mistake by the

 Court in law or fact, and is not sufficient grounds for reconsideration.

                ii.The Court Did Not Err In Crediting Ms. Marquez’s Testimony.

         15.      Mr. Van Tubergen also takes issue with Ms. Marquez’s testimony, seemingly

 insofar as the Court credited her testimony in finding that BlockFi was permitted to use the LTV

 calculation methodology it employed.              Specifically, Mr. Van Tubergen maintains that Ms.

 Marquez lacked personal knowledge of the facts that she testified to in violation of Fed. R. Evid.

 602. Mr. Van Tubergen’s challenge to Ms. Marquez’s testimony on the basis that she does not

 have personal knowledge misstates the record, does not comport with the law, and was waived

 when Ms. Marquez testified without objection at the January 16, 2024 hearing.4

         16.      Ms. Marquez is and has been BlockFi’s Chief Operating Officer. Ms. Marquez

 testified that she had familiarity with all of the topics she testified about. With respect to the

 pricing methodology used to calculate the value of the collateral, Ms. Marquez “explained the

 basis or benchmark for [BlockFi’s] valuation of the Collateral”:

         Q. What pricing metric did BlockFi use to make these determinations of whether
         the loan-to-value was 70 percent, 80 percent? How was that calculation done?

         A. We used a variety of best-in-class pricing feeds that were fed in to our
         institutional team and that was connected to the loan platform, and then LTV values
         were calculated off of those pricing feeds.

         Q. And so was that from Gemini?




 4
     As this Court is no doubt aware, had Van Tubergen lodged an objection to Ms. Marquez’s testimony on the basis
     that she did not have personal knowledge of certain facts, that predicate would have been laid. Failing to object
     should estop Van Tubergen from now complaining.



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        A. It may have been from Gemini at certain points in time, but over time, we used
        multiple pricing feeds to ensure the data was accurate.

 Motion, Exhibit OO, Hearing Transcript 44:24-45:10, Docket No. 2142-3.

        17.     With respect to the potential reason for discrepancy between amounts that Mr. Van

 Tubergen presented and what BlockFi used, Ms. Marquez testified:

        A. I think the concept of the price that’s used is complicated because typically
        when a client Google’s Ethereum price, you’re seeing the spot price for Bitcoin,
        which could be – it’s the last trade that happened and that could have been someone
        buying 10 cents worth of Ethereum. So that price isn’t necessarily what’s available
        to the market, let’s say, if you’re trying to sell millions of dollars worth of crypto.
        So I think the idea of spot pricing versus the price that we get when you execute a
        trade, there’s a difference there based on the volume that you’re trying to trade and
        of course every single trade has trading fees.

 Motion, Exhibit OO, Hearing Transcript, 45:18-46:3.

        A. So, for example, on one of the days in question, we were talking about the price
        of Ethereum I believe on May 19, 2021. If you took Ethereum’s close that day
        versus the low, I believe there was a 25 percent difference in price just for that day.
        And that’s because when the price of crypto starts to fall, it falls very drastically in
        one day, and so not only the pricing source that you’re using but exactly which
        price you’re pulling for the day in question matters materially when you’re looking
        at what was the loan’s LTV that caused the default on the day in question.

 Motion, Exhibit OO, Hearing Transcript, 46:11-20.

        18.     Ms. Marquez made clear: “In this case, I looked through the loans transaction

 history and our books and records.” Motion, Exhibit OO, Hearing Transcript, 54:2-6. When asked

 if she prepared the charts that were included in her certification, her response was “Yes. I was part

 of the team that helped prepare the charts.” Motion, Exhibit OO, Hearing Transcript, 54:7-10.

        19.     Mr. Van Tubergen focuses solely on the fact that Ms. Marquez could not remember

 the name of certain pricing feeds BlockFi used years ago. A perfect memory is not required for a

 witness to have “personal knowledge.” M. B. A. F. B. Fed. Credit Union v. Cumis Ins. Soc., Inc.,

 681 F.2d 930, 932 (4th Cir. 1982) (“Rule 602, however, does not require that the witness’

 knowledge be positive or rise to the level of absolute certainty. Evidence is inadmissible under


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 this rule only if in the proper exercise of the trial court’s discretion it finds that the witness could

 not have actually perceived or observed that which he testifies to.”); S.E.C. v. Singer, 786 F. Supp.

 1158, 1167 (S.D.N.Y. 1992) (“Testimony can be admissible under Rule 602 even if the witness

 has only a broad general recollection of the subject matter.”). Ms. Marquez’s testimony was clear

 – BlockFi used pricing feeds. There was no speculation or guessing about that fact.

         20.     Ms. Marquez’s review of documents to prepare for signing the Certification and

 testifying at the hearing is not disqualifying and does not establish that she did not have personal

 knowledge. Quad/Graphics, Inc. v. One2One Commc'ns, LLC, No. 09-CV-99-JPS, 2011 WL

 4478440, at *8 (E.D. Wis. Sept. 23, 2011) (Chief Operating Officer’s discussions with sales team

 and reviewing sales reports established ‘personal knowledge’); Shell Petroleum, Inc. v. United

 States, No. 97-945 T, 2001 WL 36142722, at *5 (Fed. Cl. Apr. 12, 2001) (personal knowledge

 requirement met for CEO that reviewed and understood reserve reports summarized by another;

 type of information a CEO would typically rely on); U.S. Info. Sys., Inc. v. Int’l Bhd. of Elec.

 Workers Loc. Union No. 3, No. 00 CIV. 4763 RMB JCF, 2006 WL 2136249, at *11 (S.D.N.Y.

 Aug. 1, 2006), adhered to on reconsideration, No. 00 CIV.4763 RMB JCF, 2006 WL 2556339

 (S.D.N.Y. Sept. 5, 2006) (Court refuses to strike certain evidence given by witnesses who obtained

 his knowledge of events through interactions with other people: “Personal knowledge however,

 is not so narrowly defined. ‘Although first-hand observation is obviously the most common form

 of personal knowledge, that is not the only basis for it.’” citing 3 J. Weinstein et al., Weinstein's

 Evidence, § 602.03[1][a]).

         21.     Ms. Marquez’s testimony with respect to the methodology BlockFi used to price

 Mr. Van Tubergen’s collateral under the agreed terms was credible, as found by this Court. Mr.

 Van Tubergen’s assertion to the contrary is incorrect and unsupported by the record, and his




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 request that this Court now take judicial notice of other pricing data – after the evidence has closed

 –is improper and a waste of resources.

        B.      The Court Gave Sufficient Consideration To Michigan Law.

        22.     Mr. Van Tubergen also asserts that the Court gave insignificant consideration to

 Michigan law with regard to: (i) good faith and fair dealing requirements, (ii) the unconscionability

 of the LSA, and (iii) agency principles. As set forth below, Mr. Van Tubergen’s assertions are

 incorrect.

               i.There Can Be No Violation Of Good Faith And Fair Dealing
                 Where BlockFi Complied With The Express Terms Of The Contract.

        23.     At its core, Van Tubergen’s argument is that BlockFi breached the LSAs.

 Michigan’s duty of good faith and fair dealing cannot and does not provide a means to negate

 express contract terms. Eastway & Blevins Agency v Citizens Ins. Co. of America, 520 N.W.2d

 640, 642 (Mich. Ct. App. 1994) (“A lack of good faith cannot override an express provision in a

 contract.”) (citing General Aviation, Inc. v. Cessna Aircraft Co., 915 F.2d 1038, 1041 (C.A.6,

 1990)). Mr. Van Tubergen insists that the only acceptable LTV calculation is one based on Gemini

 pricing data. However, this assertion, as this Court already found, is negated by the plain terms of

 the LSA, which provide that market value of collateral is either the “product of the amount of the

 collateral times the last trade price for that type of collateral on the Gemini website or the market

 value determined by BlockFi in its reasonable discretion.” The express language of the contract

 that Mr. Van Tubergen entered into provides BlockFi with the discretion that Mr. Van Tubergen

 erroneously asserts BlockFi does not have. BlockFi’s adherence to these terms is not (and cannot

 be) a violation of Michigan’s duty of good faith and fair dealing.




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               ii.The Motion Fails To Identify Either Procedural Or
                  Substantive Unconscionability As Required Under Michigan Law.

        24.       Procedural unconscionability exists where the weaker party had no realistic

 alternative to acceptance of the term. See Liparoto Constr, Inc v Gen Shale Brick, Inc, 772 N.W.2d

 801, 805-06 (Mich. Ct. App. 2009). Substantive unconscionability exists where the challenged

 term is not substantively reasonable – where the inequity of the term is so extreme as to “shock

 the conscience.” Id. Mr. Van Tubergen was not required to enter into any agreement with BlockFi,

 and the terms of the LSA are not substantively unreasonable and certainly do not shock the

 conscience.

        25.       Mr. Van Tubergen could certainly have taken his business elsewhere. There was

 no procedural duress in entering into the agreements with BlockFi. Unconscionability must fail

 on that basis alone.

        26.       Van Tubergen’s complaints about “Percentage (%) of Collateral Liquidated” focus

 on an inapplicable metric. Nothing in the LSA requires BlockFi to review or address the “units of

 Collateral sold”. Van Tubergen admits that BlockFi could liquidate collateral to re-establish the

 “Required LTV” of either seventy percent (70%) or eighty percent (80%) depending on the loan.

 Motion, p. 15.

        As established by testimony and written submission, BlockFi acted in compliance with

 the LSAs:

        COURT: And when collateral was liquidated to produce the loan-to-value ratio, in
        looking at your declaration and the wind-down reply, often it seemed after the
        liquidation of the collateral, the loan-to-value was still somewhat high. In other
        words, sometimes over 80 percent or just below 79 percent. Why weren’t more
        funds liquidated, more assets liquidated to bring it down to a more
        comfortable level?

        MARQUEZ: So as a business, it was really important for us to do two things. One,
        to take into account our client’s perspective when possible and also to just have as
        healthy of a business as possible. And so our goal was to try to liquidate as few


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             times as possible and avoid a liquidation whenever possible because BlockFi, like
             Mr. Van Tubergen, we believed in the fact that over -- we thought that crypto would
             go up over a long period of time. And so, when it came time to liquidate loans, our
             only goal was to ensure that we always had more collateral than the value of the
             loan outstanding. And within that, we preferred to try to do smaller batches of
             liquidation rather than, let’s say, oversell and wipe out much more collateral.
             Because we also knew that our clients really -- we thought our clients would prefer
             that method of operation, even though it was within our rights to, as you said,
             liquidate far more and bring them back to a 50 percent LTV.

 Motion, Exhibit OO, Hearing Transcript, 48:3-49:1.

             27.      As demonstrated in Ms. Marquez’s certification, BlockFi never liquidated

 collateral lower than the LTV allowed by the LSAs:

     Loan #5       Liq. #6      Liquidation         Pre-              Collateral Sold           Post-
                                Date                liquidation                                 liquidation
                                                    LTV %                                       LTV %
     1             1            6/22/2021           83.1              6.3257 BTC                81.59
     2             2            6/22/2021           82.0              3.4294 BTC                80.39
     3             3            5/19/2021           91.4              1,565.2442 ETH            82.33
     4             4a           7/13/2021           91.2              1,781.3053 ETH            81.16
     4             4b           7/19/2021           90.5              818.4279 ETH              79.99
     5             5a           1/21/2022           83.1              31.3544 BTC               70.12
     5             5b           5/9/2022            82.9              17.5577 BTC               70.00
     6             6a           1/21/2022           83.4              17.4025 BTC               70.03
     6             6b           5/9/2022            82.7              9.2020 BTC                70.00
     7             7            1/22/2022           92.2              363.2473 ETH              84.95

 Certification of Flori Marquez in Support of Wind-Down Debtors Reply, Docket No. 1963-10,

 ¶¶ 9-11, 19-22, 24-26.

             28.      The percentage-of-collateral-liquidated measure simply demonstrates just how

 much volatility there was in the market between Mr. Van Tubergen’s signing of the loan and the

 time of the properly-conducted liquidations. For example, BTC lost nearly 50% of its value

 between early-May 2021 when Mr. Van Tubergen entered into Loans #1 and #2 above and June


 5
         The Loan # corresponds to the chart in Section III of the Factual Background of BlockFi’s Reply Docket No.
         1963.
 6
         Three of the Loans have more than one Disputed Liquidation, indicated by the Liquidation #.



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 2021 when some collateral was liquidated. ETH lost nearly 50% of its value in the week between

 Mr. Van Tubergen’s entry into Loan #3 and the May 19, 2021 liquidation of some of the collateral.

        29.     The clauses that (1) allow liquidation of collateral securing significant loan amounts

 (the complained-of loans here total more than $20M) and (2) allow BlockFi reasonable discretion

 in determining market value are not unconscionable and certainly don’t “shock the conscience.”

 This Court’s Decision was correct; Mr. Van Tubergen’s Motion to must be denied.

              iii.Michigan Agency Law Does Not Save Mr. Van Tubergen’s Claims.

        30.     Van Tubergen spends time in the Motion outlining Michigan agency law – but the

 Court’s decision based on the evidence Mr. Van Tubergen submitted is correct.               BlockFi

 representatives never promised Mr. Van Tubergen anything (cannot “guarantee that it wont [sic]

 get liquidated”). Mr. Van Tubergen was repeatedly told exactly how to avoid liquidation – post

 more collateral, in the same kind as required by the LSA, to the account identified in the LSA.

 Failing to do so, BlockFi was within its rights under the LSAs to liquidate collateral when the

 maximum LTV was reached.

              iv.This Court Correctly Found That
                 Mr. Van Tubergen Failed To Present
                 Any Evidence That BlockFi Failed To Send Required Notices.

        31.     The LSAs are clear: “if at any time, the outstanding principal balance of the Loan

 is equal to or greater than eighty percent (80%)7 of the Collateral Market Value (the “Accelerated

 Maximum Loan to Value Ratio”), Lender has the right to immediately liquidate Collateral.” As

 outlined above, each complained-of liquidation occurred after the Accelerated Maximum Loan to

 Value Ratio was reached.




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     Or 90% LTV on one loan.



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         32.      Even if that were not the case, Mr. Van Tubergen has the burden to prove his breach

 of contract claim. He presented no evidence and submitted no testimony that he did not receive

 proper notice – counsel’s argument is not evidence. The evidence Van Tubergen did present

 relates to a single loan (Loan #3) and demonstrates that he received notice that the loan was in

 default (greater than 80% LTV) and that his collateral was “Eligible for Sale.” Sur-Reply, Exhibit

 II, Docket No. 2039-12. In compliance with the LSA, BlockFi liquidated some of the collateral

 securing that loan. Further, BlockFi demonstrated in Exhibit J that it did send multiple emails

 before the liquidation.

         33.      Finally, Mr. Van Tubergen’s assertion that BlockFi “effectively admitted” to a

 wrongful liquidation is baseless. Van Tubergen, in accepting BlockFi’s proposal, agreed that the

 reinstatement was a deviation from BlockFi’s normal procedures and a one-time only

 accommodation.

         C.       Evidentiary Issues.

         34.      Mr. Van Tubergen requests that this Court now, after evidence has been admitted

 and the evidence is closed, “exclude” Exhibit J. Mr. Van Tubergen wants a “do over” for evidence

 his counsel did not object to and stated, “I’ll grant it to be admitted with the right to ask Ms.

 Marquez some questions.” Motion to Reconsider, Exhibit OO, Hearing Transcript, 41:25-42:2,

 Docket No. 2142-3.8

         35.      The foundation for Exhibit J was well laid – Ms. Marquez testified she had personal

 knowledge of it (Hearing Transcript 50:18-19), she explained what the entries on Exhibit J meant

 (Hearing Transcript 38:5-41), and she explained the process that initiated the sending of notices



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     “Initial arguments are not to be treated as a dress rehearsal for a second attempt to prevail on the same matter.
     Counsel is also expected to ‘get it right’ the first time and to present all the arguments which counsel believes
     support its position.” In re Armstrong Store Fixtures Corp., 139 B.R. 347, 350 (Bankr. W. D. Pa. 1992).



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 (Hearing Transcript 52:2-11). If Mr. Van Tubergen’s counsel believed that the foundation for

 admission of Exhibit J had not been established, the time to assert that was on January 16 – not

 two months later. Having agreed to the admission of Exhibit J and the Court’s actual admission

 of Exhibit J, Mr. Van Tubergen cannot now be heard to complain. Mr. Van Tubergen waived any

 objection to the admission of the evidence.

 II.    Mr. Van Tubergen Has Not Met His Burden To Warrant A Stay.

        36.     In the alternative to reconsideration, Mr. Van Tubergen requests that this Court stay

 disallowance of the Claim pending the resolution of a potential subsequent appeal. A request for

 stay pending appeal in the Third Circuit is reviewed under the following four-factor test: “(1)

 whether the stay applicant has made a strong showing that [it] is likely to succeed on the merits;

 (2) whether the applicant will be irreparably injured absent a stay; (3) whether issuance of the stay

 will substantially injure the other parties interested in the proceeding; and (4) where the public

 interest lies.” In re Revel AC, Inc., 802 F.3d 558, 568 (3d Cir. 2015) (citing Hilton v. Braunskill,

 481 U.S. 770, 776, 107 S.Ct. 2113, 95 L.Ed.2d 724 (1987)). The first two factors are “the most

 critical.” In re Revel AC, Inc., 802 F.3d at 568 (citing Nken v. Holder, 556 U.S. 418, 434, 129 S.

 Ct. 1749, 1761, 173 L. Ed. 2d 550 (2009)). Each of the four factors weighs against a stay of

 disallowance, and the Court should deny Mr. Van Tubergen’s request.

        A.      Mr. Van Tubergen Has Not
                Demonstrated A Likelihood Of Success On The Merits.

        37.     Mr. Van Tubergen asserts “that there exists a high likelihood that Claimant will

 prevail on appeal given his case-in-chief as presented by way of written briefing, certifications,

 exhibits on the record, and at the hearing held in this matter, together with foregoing contentions

 made in support of the Motion.” As Mr. Van Tubergen’s Motion for reconsideration largely

 repeats the same arguments raised on the record, without adding any additional evidence or



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 support, his success on the merits depends on a trier of fact coming to the opposite conclusion as

 this Court with the same information. The likelihood of success, therefore, cannot be said to be

 high, let alone satisfactory to carry Mr. Van Tubergen’s burden.

        38.     As the record reflects and as this Court has already determined, the plain language

 of the contract that BlockFi and Mr. Van Tubergen executed afforded BlockFi discretion in the

 methodology used to calculate market value of collateral. This Court found that BlockFi’s

 methodology was reasonable, and that Mr. Van Tubergen failed to establish that BlockFi

 miscalculated the LTV. Mr. Van Tubergen fails to show that any other court would reach a

 different conclusion.

        B.      Mr. Van Tubergen Will Not Suffer
                Irreparable Harm If The Stay Is Denied.

        39.     As the Third Circuit has made clear, harm that is purely monetary does not

 constitute irreparable harm. See Randolph Township Board of Education, Morris County, New

 Jersey v. M.T., 2023 WL 4265760 (3d. Cir. June 29, 2023) (upholding District Court’s denial of

 stay request finding “[a]s the District Court explained, the [] order primarily awards…

 compensatory damages [and] ‘[T]he availability of money damages for an injury typically will

 preclude a finding of irreparable harm’”) (quoting Reilly v. City of Harrisburg, 858 F.3d 173, 179

 n.4 (3d Cir. 2017)); see also Cobalis Corp. v. Cornell Capital Partners, LP, 2011 WL 4962188,

 *7 (D.N.J. Oct. 18, 2011) (“It is well settled that “an injunction will not be upheld where the

 claimed injury constituted a loss of money, a loss capable of recoupment in a proper action at

 law.”) (quoting In re Arthur Treacher's Franchisee Litig., 689 F.2d 1137, 1145 (3d. Cir. 1982); In

 re Frascella Enterprises, Inc., 388 B.R. 619, 627 (Bankr. E.D. Pa. 2008) (“it is well-established

 that economic loss alone is not irreparable harm. ‘Irreparable harm must be of a peculiar nature,

 so that compensation in money alone cannot atone for it.’”) (quoting Kos Pharma., Inc. v. Andrx



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 Corp., 369 F.3d 700 (3d. Cir. 2004). Indeed, such purely monetary harm does not constitute

 irreparable harm even where there is a risk that the movant will be unable to recover the funds

 upon a reversal on appeal. See Susquenita School Dist. V. Raelee S. By and Through Headi S., 96

 F.3d 80-81 (3d. Cir. 1996) (affirming the denial of a stay based on lack of irreparable harm where

 movant “would not be entitled to recover funds… even if it were to prevail on appeal.”).

        40.     Mr. Van Tubergen asserts that he will be irreparably harmed if a reserve for his

 Claim is not established given the potential for the estate to be depleted (presumably to an extent

 insufficient to cover the amount of the Claim if Mr. Van Tubergen is successful on appeal) during

 the pendency of a hypothetical future appeal. Mr. Van Tubergen’s purported injury is purely

 monetary in nature. As such, Mr. Van Tubergen’s purported harm does not satisfy the standard

 for irreparable harm, even if there is a risk that Mr. Van Tubergen would be unable to recoup funds

 if disallowance of the Claim is reversed on appeal.

        41.     Moreover, and as discussed above, Mr. Van Tubergen has offered no new

 information or evidence beyond that which this Court previously considered in rendering its

 Decision. Mr. Van Tubergen is unlikely to prevail on appeal and, as such, is unlikely to be harmed

 to any extent by the absence of a reserve for his Claims. Mr. Van Tubergen has failed to meet the

 standard under the second factor.

        C.      Meanwhile, A Stay Will Harm
                The Wind-Down Debtors And Their Innocent Creditors.

        42.     Conversely, a stay and establishment of a reserve of $8.16 million will undoubtedly

 harm BlockFi’s other creditors. The assets tied up in this bankruptcy case represent savings and

 retirement funds of hundreds of thousands of BlockFi customers. These Chapter 11 cases have

 been pending for over a year. The Wind-Down Debtors and the Plan Administrator are close to

 making distributions – reuniting BlockFi’s customers with assets critically important to them. The



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 amount that Mr. Van Tubergen requests be reserved for his claim and that would not be distributed, is

 substantial. Such a reserve would serve to prolong the separation of BlockFi Lending’s creditors

 from a meaningful portion of their value entitlements.

         43.     Contrary to Mr. Van Tubergen’s assertion, the Order disallowing the Claim does

 not solely affect Mr. Van Tubergen. It affects all of BlockFi Lending’s customers, and in a

 meaningful way. Although Mr. Van Tubergen cannot envision how further separation of BlockFi

 Lending’s clients from their assets may be harmful to them, the record established in this case,

 including customers continuous plea for distributions, makes this harm clear.

         D.      The Public Interest Weighs Against Staying
                 The Disallowance Of Mr. Van Tubergen’s Claim.

         44.     Mr. Van Tubergen does not offer any argument as to the weight of the public

 interest in granting a stay.   Notwithstanding, the Wind-Down Debtors respectfully submit that

 there is substantial public interest in denying frivolous motions for stay on substantially the same

 set of facts already on the record and where such a stay would significantly harm thousands of

 innocent natural persons.

         45.     Each factor therefore weighs against a stay and establishment of any reserve

 amount. Accordingly, the Wind-Down Debtors respectfully request that this Court deny the

 request for such relief.

                                           CONCLUSION

         46.     Wherefore, based on the foregoing, the Plan Administrator respectfully requests

 that the Court (i) deny the Motion and (ii) grant such other and further relief as it deems proper.



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 Respectfully Submitted:

  Dated: April 18, 2024                    /s/ Daniel M. Stolz

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